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 DEFENDANT:          Daniele PULIA

 AGE/YOB:            1984

 COMPLAINT           ______ Yes      ____x___ No
 FILED?

 HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                    __ Yes      _x_ No
   If No, a new warrant is required

 OFFENSE(S):         Count 1: 21 U.S.C. §§ 959(a) and 963 (conspiracy to import a
                     controlled substance)

                     Count 2: 21 U.S.C. §§ 959(a) (importation of a controlled
                     substance)

                     Count 3: 21 U.S.C. §§ 841(b)(1)(A) & 846 (conspiracy to distribute a
                     controlled substance)

                     Count 4: 18 U.S.C. § 1956(h) (conspiracy to launder money)

                     Count 5: 18 U.S.C. § 1956(a)(2)(A) & (a)(2)(B)(i) (money
                     laundering)

 LOCATION OF         Denver County, Colorado
 OFFENSE:

 PENALTY:            Counts 1, 2 & 3: NLT 10 years’ imprisonment; NMT life
                     imprisonment; NLT 5 years’ SR; NMT life SR; NMT $10,000,000
                     fine or twice the gain/loss from the offense; $100 SA

                     Counts 4 & 5: NMT 20 years’ imprisonment; NMT 3 years’ SR; NMT
                     $250,000 fine or twice the gain/loss from the offense; $100 SA

 AGENT:              Arran McWhirter, HSI

 AUTHORIZED          Andrea Surratt
 BY:                 Assistant U.S. Attorney

ESTIMATED TIME OF TRIAL:             five days or less; _x__ over five days

THE GOVERNMENT

 x will seek detention in this case based on 18 U.S.C. § 3142(f)(1)

The statutory presumption of detention is applicable to this defendant.
